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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

         MARSHA R. BENNIE,

                            Plaintiff

         V



         BOCA RATON REGIONAL
         HOSPITAL, INC, A Florida
         Corporation.

                            Defendant.



                                         COMPLAINT

               Plaintiff Marsha R. Bennie (hereinafter referred to as "Plaintiff'

        or "Ms. Bennie"), by and through     her undersigned attorney, sue Defendant

        Boca Raton Regional Hospital, Inc. A Florida Corporation

         (hereinafter referred to as "Defendant" or "Hospital") for damages in this

        Complaint in excess of $ 75, 000 for violations of her civil rights occurring

        during her employment relationship with Defendant. Plaintiff sues

        Defendant under Title VII of the Civil Rights Act of 1964 and

        1991, as amended,42 U.S.c. Section 2000e et seq.    ("Title vII"), the Civil


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         Rights Act of 1871, as amended, and the Florida       civil Rights Act of 1992,
         Section 760.01 et seq., Florida Statutes ("FCRA"). the Civil Rights Act        of
         I871, as amended,42 U.S.C. Section 1981 ("Section 1981").


                                 JURISDICTION AND VENUE

                  1.     This Court's jurisdiction is invoked pursuant to28 U.S.C.

         Sections 45I,133I,1337 and,1343. This action arises under 42 U.S.C.

         Sections 2000e et seq. This action arises under 42 U.S.C. Sections 1981 and

         1981a.

               2.      This Court has supplemental jurisdiction over Plaintiff

        state law claims pursuant to28 U.S.C. Section 1367

               3.      Plaintiff has exhausted her administrative remedies.

        Plaintiff filed a charge of discrimination with the United States Equal

        Employment Opportunity Commission ("EEOC"); based upon Race (See

        attached Ex    "A"). Plaintiff   initiated this action within ninety days of receipt

        of the Notice of Right to Sue.




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        4.         Pursuant to 28 U.S.C. Section 1391, venue of this action is proper

        in the Southern District of Florida. The causes of actions contained in this

        complaint accrued in Palm Beach County, Florida, within the purview of the

        Southern District   of

        Florida.




                                            PARTIES

        5            Defendant is duly organized under the State of Florida,

        as a Florida Corporation.

        6.         The violations described in the complaint resulted from the

        policies, customs, patterns, and practices of named government agencies and

        employees,


                                 FACTUAL ALLEGATIONS


        7          At all times material hereto, Plaintiff,   a Black/African-American

        has



        been employed by Defendant as a Physical Therapist and has held the

        position since she began her employment until her wrongful

        termination on , and retaliatory actions by the Defendant described



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        herein.


              DISPARATE TREATMENT BASED UPON RACE ALLEGATIONS

        8           The Plaintiff who complained to Management regarding her
        disparate

        treatment as her comparators, were treated differently in terms of their

        employment assignments. The Plaintiff was the only Black/African-

        American Physical Therapist in the Inpatient Rehab Department.



              RETALIATION / TERMINA            ON RACE ALLEGATIONS

        9            The Plaintiff was disciplined as a retaliatory measure due to her

        previous complaints to the Human Resources, Management, and

        Supervisors. The disciplines were false in narrative and did not support the

        facts, but the Defendant used these false disciplines to terminate the Plaintiff

        without grounds, and done strictly to retaliate against her. The Defendant

        retaliated against her by terminating her on July 26,2022.


        10.            The Plaintiff is responsible for reasonable attorney fees




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                                           COUNT       I
                       DEFENDANTS HAVE VIOLATED TITLE                     VII
                               (Disparate Treatment)

                 11.    Plaintiff adopts and re-alleges paragraphs 1-10 above as if

        incorporated herein.

                 12.     Plaintiff is a member of    a protected class because   of her

        race.

                 13.   The Defendant is an employer that employs over 50 people, and

        is subject to 42 U.S.C. Section 2000e et g9g.

                 14.   Defendant treated Plaintiff with disparate treatment in the

        terms and conditions of her employment as outlined in paragraphs

        above    .



                 15.   The Defendant has intentionally discriminated against the

        Plaintiff in particular in violation of Title VlI,42 U.S.C. Section 2000e et

        SSg.   by disparate treatment of Plaintiff as outlined in paragraphs above


                 16.   The effect of the actions complained of as aforementioned has

        been to deprive the Plaintiff of equal employment opportunities, and

        otherwise to adversely affect his status as an employee as outlined in

        paragraphs above.


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               17. The unlawful employment practices complained of were
        intentional as outlined in paragraphs above.

              18.    The unlawful employment practices against the     Plaintiff

        were done with malice or reckless indifference to the PlaintifPs federally

        protected rights as outlined in paragraphs above.

              19.    As a direct and proximate result of Defendant's unlawful

        employment practices, the Plaintiff was emotionally harmed, suffered, and

        will continue to suffer, a loss of wages and other employment benefits, a loss

        of earning capacity, damages to his professional reputation, a loss of dignity,

        a loss of the enjoyment of life, embarrassment, humiliation, and other forms

        of mental anguish and distress

              Wherefore, Plaintiff requests this Court issue an order against

        Defendant awarding the Plaintiff compensatory damages, punitive damages,

        lost back pay, and/or front pay, attorney's fees and costs, together with such

        other relief as this Court deems just and proper




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                                          COUNT     II
                       DISCRIMINATION IN VIOLATION OF THE
                             FLORIDA      CIVI RIGHTS ACT
                                 OISPARATE TREATMENT)

                 20. Plaintiff   adopts and re-alleges paragraphs 1-10 above as   if
        incorporated herein

                 21.   Defendant discriminated against Plaintiff because of her race,

        in violation of the FCRA

                 22.   That the Defendant treated Plaintiff with disparate treatment in

        the terms and conditions of her employment as outlined in paragraphs

        above.

                 23.   The Defendant has intentionally discriminated against the

        Plaintiff in particular in violation of FCRA by disparate treatment of

        Plaintiff as outlined in paragraphs above   .




                 24.   The effect of the actions complained of as aforementioned has

        been to deprive the Plaintiff of equal employment opportunities, and

        otherwise to adversely affect her status as previous employee as outlined in

        paragraphs above.




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              25.    The unlawful employment practices complained of were

        intentional as outlined in paragraphs above.

              26.    The unlawful employment practices against the    Plaintiff

        were done with malice or reckless indifference to the Plaintiff s state

        protected rights as outlined in paragraphs above.

              27.    As a direct and proximate result of Defendant's unlawful

        employment practices, the Plaintiff was emotionally harmed, suffered, and

        will continue to suffer, a loss of wages and other employment benefits, a loss

        of earning capacity, damages to her professional reputation, a loss of dignity,

        a loss of the enjoyment of life, embarrassment, humiliation, and other forms

        of mental anguish and distress.

              Wherefore, Plaintiff requests this Court issue an order against

        Defendant awarding the Plaintiff compensatory damages, punitive damages,

        lost back pay, anilor front pay, attorney's fees and costs, together with such

        other relief as this Court deems just and proper.




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                                         COUNT     III

            42 U.S.C. SECTION 1981-EO[JAL          RIG HTS UNDER THE LAW

              28.     Plaintiff adopts and re-alleges paragraphs above    as   if
        incorporated herein

              29.     Defendant discriminated against the Plaintiff because of her

        race as Black/African-American in violation of 42 U.S.C. Section, by

        creating, tolerating and fostering a race hostile and abusive work

        environment. 1981 " protects individuals from discrimination based race in

        making and enforcing contracts, participating in lawsuits, and giving

        evidence." The Plaintiff was subjected to numerous breaches of her

        employment due to her race and in violation of   l98l   by Defendant failing to

        treat Plaintiff without discriminatory basis as outlined in paragraphs above.

        That his comparators were not treated like the Plaintiff as described in as

        outlined in paragraphs above


               30.    The   Plaintiff was not provided the same terms, conditions

        and privileges as their Caucasian, Asian-Pacific, and Hispanic comparators

        as outlined in paragraphs above.

               31.    The Defendant has intentionally discriminated against Plaintiff




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         in violation of   l98l by disparate treatment of Plaintiff,   and violation of her

         protected rights as defined under 1981 based upon his race as outlined in

         paragraphs above.

                32.    The effect of the actions complained of as aforementioned has

         been to deprive the   Plaintiff of equal employment opportunities,      and

         otherwise to adversely affect her status as employee because of her race

         as outlined in paragraphs above

                33.    The unlawful employment practices complained of were

         intentional as outlined in paragraphs above.

                 34.   The unlawful employment practices against the        Plaintiff was

         done with malice or reckless indifference to the Plaintiff s federally

         protected rights as outlined in paragraphs above.

               35.     As a direct and proximate result of Defendant's unlawful

         employment practices, the Plaintiff was emotionally harmed, suffered, and

         will continue to suffer, a loss of wages and other employment benefits, a loss

         of earning capacity, damages to their professional reputation, a loss of

         dignity, a loss of the enjoyment of life, embarrassment, humiliation, and

         other forms of mental anguish and distress.

               Wherefore, Plaintiff requests this Court issue an order against

         Defendant awarding the Plaintiff compensatory damages, punitive damages,
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         lost back pay, and/or front pay, attorney's fees and costs, together with such

         other relief as this Court deems just and proper.




                                          COUNT IV

                       DEFENDANTS HAVE VIOLATED TITLE                    VII

                 36.   Plaintiff adopts and re-alleges paragraphs 1-10 above as if

         incorporated herein.

                 37.    Plaintiff is a member of    a protected class because   of her

         race.

                 38.   The Defendant is an employer that employs over 50 people, and

         is subject to 42 U.S.C. Section 2000e et seg.

                 39.   Defendant treated Plaintiff with disparate treatment in the

        terms and conditions of her employment as outlined in paragraphs

         above

                 40.   The Defendant has intentionally discriminated against the

         Plaintiff in particular in violation of Title VII,42 U.S.C. Section 2000e et

        q.by     disparate treatment of Plaintiff as outlined in paragraph above



                 4I.   The effect of the actions complained of as aforementioned has




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         been to deprive the Plaintiff of equal employment opportunities, and

         otherwise to adversely affect her status as an employee as outlined in

        paragraph above.

               42. The unlawful employment practices complained of were
        intentional as outlined in paragraph above.

               43.   The unlawful employment practices against the Plaintiff

        were done with malice or reckless indifference to the Plaintiff s federally

        protected rights as outlined in paragraph above.

               44.    The Defendant retaliated against the Plaintiff as outline in

        paragraph above.

               46.    As a direct and proximate result of Defendant's unlawful

        employment practices, the Plaintiff was emotionally harmed, suffered, and

        will continue to suffer, a loss of wages and other employment benefits, a loss

        of earning capacity, damages to her professional reputation, a loss of dignity,

        a loss of the enjoyment of life, embarrassment, humiliation, and other forms

        of mental anguish and distress

               Wherefore, Plaintiff requests this Court issue an order against

        Defendant awarding the Plaintiff compensatory damages, punitive damages,

        lost back pay, and,lor front pay, attorney's fees and costs, together with such

        other relief as this Court deems just and proper.



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                                                     VERIFICATION CLAUSE




         STATE OF FLORIDA.                                                  )

         COUNTY OF 8a                                                      )




               BEFORE ME, the undersigned authority, personally appeared
         MARSHA BENNIE who, after being duly cautioned and sworn, deposes
         and says that he/she has read the above Complaint attached hereto and the
         information contained in the Complaint is true and correct.

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        The foregoing instrument is sworn to and subscribed before me this                                                fiLq
        day

        of                             2023, by MARSHA BENME, who is

               1.   _            Personally known to me.

               2. \/            . Who has produced the                                following as identification:

                                     {4"Tvt, &50 D55to1lnla1t)

              Given under my hand and official seal this                                      lfrL   day   or   TU tr.j
                      2023




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        Large



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         DATED July 18,2023

         DEMAND FOR TRIAL BY JURY


               Pursuant to Fed. R. Civ. P. 38(b),     Plaintiff hereby demand a trial by

        jury on all issues triable of rights by a jury.

                                                          Respectfu   lly submitted,

                                                     Discrimination Law Center, P.A.
                                                           433 Plaza Real, Suite 275
                                                           Boca Raton, Florida 33432
                                                           (561) 271-t769 tel.


                                                          By:   A{aV F.Romano
                                                                Jay F. Romano
                                                                Trial Attorney




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